              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA, :   CIVIL ACTION
et al.,                       :
                              :   NO. 21-00258
          Plaintiffs          :
     v.                       :
                              :
EUGENE SCALIA, et al.         :
                              :
          Defendants          :


                          O R D E R

          AND NOW, this 19th day of March, 2021, on motion by

defendant Department of Labor with the consent of all

plaintiffs (ECF No. 23), it is hereby ORDERED that the matter

is placed in SUSPENSE.

          It is FURTHER ORDERED that defendant Department of

Labor is required to submit a status report in sixty days and

every sixty days thereafter until further order of the Court.



          AND IT IS SO ORDERED.




                             /s/ Eduardo C. Robreno
                             EDUARDO C. ROBRENO, J.
